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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                               UNITED STATES BANKRUPTCY COURT                                            March 10, 2025
                                 SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                       HOUSTON DIVISION

                                    §
In re:                              § Chapter 7
                                    §
ALEX JONES,                         § Case No. 22-33553 (CML)
                                    §
          Debtor.                   §
                                    §
                                    §
            ORDER TO DISBURSE DEPOSITS AND SALE PRICE
                      [Related to Docket No. 1103]

           Upon the Motion (the “Motion”)1 of the Trustee for entry of an order (this “Order”),

directing the distribution of deposits made by two bidders, First United American Companies, LLC

(“FUAC”) and Global Tetrahedron LLC and the Connecticut Families (“GT”, and together with

FUAC, the “Bidders”) and the cash portion of the sale price deposited by GT, currently held by

the Trustee, the Court having reviewed the Motion, and after due deliberation and sufficient cause

appearing therefor,

           IT IS HEREBY ORDERED THAT:

           1.       Within five (5) business days of the entry of this Order, the Trustee shall make the

following distributions:

           a. The good faith deposit of $120,000.00 shall be returned and distributed to FUAC; and

           b. The good faith deposit and cash purchase price of $1,750,000.00 shall be returned and

                distributed to GT.




1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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       2.      The Trustee is authorized to take all actions reasonably necessary to implement the

terms of this Order.



Signed ________________, 2025.

        August
        March 10,02, 2019
                  2025
                                     ____________________________________
                                     HONORABLE CHRISTOPHER M. LOPEZ
                                     UNITED STATES BANKRUPTCY JUDGE




                                                2
